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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:17-cv-00337-KMT

  WADE NOFLIN,

          Plaintiff,

  v.

  THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF GARFIELD,

          Defendant.



                       JOINT MOTION FOR SETTLEMENT CONFERENCE


          Defendant, the Board of County Commissioners of the County of Garfield, by and

  through its attorneys, Cathy Havener Greer and Brendan L. Loy of Wells, Anderson & Race,

  LLC, and Plaintiff, Wade Noflin, pro se, hereby respectfully move the Court to refer this case to

  a United States Magistrate Judge for a settlement conference. In support of this Motion, the parties

  state as follows:

       1. The discovery period in this case is underway, pursuant to the Scheduling Order entered on

          May 2, 2017 [Docket #18]. Dispositive motions are due December 1, 2017, and a trial date is

          expected to be set (most likely for early 2018) at, or in lieu of, a final pre-trial conference to

          be held shortly after either the dispositive motion deadline expires or any dispositive motions

          are ruled upon.

       2. “Pursuant to 28 U.S.C. § 652, litigants in all civil cases are required to consider the use of

          an alternative dispute resolution process, including, but not limited to, mediation,
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         settlement conferences, early neutral evaluation, mini trial, and arbitration as authorized

         in 28 U.S.C. §§ 654 and 658, at an appropriate stage in the litigation.” Turner v. Young,

         205 F.R.D. 592, 594 (D. Kan. 2002).

     3. Congress’s presumed purpose is adopting § 652 “was to encourage maximum use of

         court-sponsored mediation opportunities[.]” Hand v. Walnut Valley Sailing Club, Case

         No. 10-1296-SAC, 2011 U.S. Dist. LEXIS 80465, at *14 (D. Kan. July 20, 2011)

         (citation omitted).

     4. “A district judge or a magistrate judge exercising consent jurisdiction may direct the

         parties to a suit to engage in an early neutral evaluation or other alternative dispute

         resolution proceeding.” D.C.COLO.LCivR 16.6(a).

     5. Based on their F.R.C.P. 26(f) meeting on April 14, 2017, and the Scheduling Conference on

         May 9, 2017, the parties believe that significant progress towards resolution may be achieved

         through a settlement conference.

     6. The parties mutually believe, based on the particular issues and circumstances involved in

         this matter, that a settlement conference with a Magistrate Judge may facilitate resolution of

         this case without need for further litigation, which will both benefit the parties and promote

         the interests of judicial economy.

     7. The parties further believe that the present stage of litigation, before significant expenditures

         are made on discovery, is an appropriate and opportune time to discuss and work toward a

         possible resolution.

         WHEREFORE, for the reasons stated above, the parties respectfully request the Court

  refer this matter to a Magistrate Judge for the purpose of conducting a settlement conference.



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        Dated this 31st day of May, 2017.

                                            Respectfully submitted,



                                            S/ Brendan L. Loy
                                            __________________________________
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                                            Brendan L. Loy
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                                            S/ Wade Noflin
                                            __________________________________
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                                            PRO SE PLAINTIFF

                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on May 31, 2017, a true and correct copy of the above and
  foregoing JOINT MOTION FOR SETTLEMENT CONFERENCE was electronically filed
  with the Clerk of Court using the CM/ECF system, and served via U.S. Mail to:

  Wade Noflin
  2207 East 12th
  Pueblo, CO 81001
  Pro Se Plaintiff

                                            S/ Barbara McCall
                                            Barbara McCall
                                            Email: bmccall@warllc.com


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